










2015 VT 46













State v. Hurley (2014-032)

&nbsp;

2015 VT 46

&nbsp;

[Filed 06-Mar-2015]

&nbsp;

NOTICE:&nbsp; This opinion is
subject to motions for reargument under V.R.A.P. 40 as well as formal revision
before publication in the Vermont Reports.&nbsp; Readers are requested to
notify the Reporter of Decisions by email at: JUD.Reporter@state.vt.us or by
mail at: Vermont Supreme Court, 109 State Street, Montpelier, Vermont
05609-0801, of any errors in order that corrections may be made before this
opinion goes to press.

&nbsp;

&nbsp;


 
  
  2015 VT 46
  
 


&nbsp;


 
  
  No. 2014-032
  
 


&nbsp;


 
  
  State of Vermont
  
  
  Supreme Court
  
 
 
  
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  On Appeal from
  
 
 
  
  &nbsp;&nbsp;&nbsp;&nbsp; v.
  
  
  Superior Court, Bennington
  Unit,
  
 
 
  
  &nbsp;
  
  
  Criminal Division
  
 
 
  
  &nbsp;
  
  
  &nbsp;
  
 
 
  
  Robert K. Hurley
  
  
  September Term, 2014
  
 
 
  
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  &nbsp;
  
 
 
  
  Nancy
  Corsones, J.
  
 
 
  
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Alexander Burke, Bennington County Deputy State’s Attorney,
Bennington, for 

&nbsp; Plaintiff-Appellee.

&nbsp;

David Scherr of Burke Law, P.C., Burlington, for
Defendant-Appellant.

&nbsp;

&nbsp;

PRESENT:&nbsp;&nbsp; Reiber, C.J., Dooley, Skoglund and
Robinson, JJ., and Hayes, Supr. J.,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Specially Assigned

&nbsp;

&nbsp;

¶ 1.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
ROBINSON, J.&nbsp;&nbsp; This case calls upon us to decide
whether 23 V.S.A. §&nbsp;1125 prohibits the hanging of any item on the inside
of a windshield, including a pine-tree-shaped air freshener, without regard to
whether the item materially obstructs the driver’s vision.&nbsp; Defendant
appeals the denial of his motion to suppress the fruits of a traffic stop based
on the presence of an air freshener hanging from his rearview mirror, and his
ensuing conviction.&nbsp; We conclude that the applicable statute does not per
se prohibit the hanging of any item on the inside of a windshield without
regard to whether it obstructs the driver’s vision.&nbsp; However, because the
officer’s mistake of law on this point was objectively reasonable and thus
justified the stop, we affirm the judgment below.

¶ 2.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
In June 2013, defendant was driving through downtown Bennington when he
was stopped by a police officer.&nbsp; As a result of observations the officer
made in connection with the stop, and ensuing events, defendant was charged
with driving over the legal limit and driving under the influence of alcohol in
violation of 23 V.S.A. §§&nbsp;1201(a)(1) and (2).&nbsp; Defendant moved to
suppress and dismiss.

¶ 3.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
The facts underlying the suppression motion are undisputed.&nbsp; The
police officer stopped the defendant after the officer saw a pine-tree-shaped
air freshener hanging from the defendant’s rearview mirror.&nbsp; The State
argued that hanging an air freshener from the rearview mirror violates 23
V.S.A. §&nbsp;1125.&nbsp; The defendant argued that hanging an air freshener
from the rearview mirror does not violate that statute if the item does not
materially obstruct the driver’s vision.&nbsp; The State did not allege that
the officer believed that the air freshener obstructed defendant’s
vision.&nbsp; At the subsequent bench trial, the officer testified that a
driver of the car could “observe the road directly ahead,” notwithstanding the
presence of the air freshener.

¶ 4.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
The trial court denied the suppression motion, concluding that the
statute unambiguously prohibits the hanging of all objects from rearview
mirrors, except those specifically exempted by the statute.&nbsp; Defendant was
subsequently convicted at a bench trial and now appeals his conviction on the
ground that the trial court erred in denying his suppression motion.

¶ 5.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
“A police officer is authorized to make an investigatory stop based on a
reasonable and articulable suspicion of criminal activity, or of a traffic
violation.” &nbsp;State v. Davis, 2007 VT 71, ¶&nbsp;7, 182 Vt. 573, 933
A.2d 224 (mem.) (quotation omitted).&nbsp; “[E]ven a minor traffic infraction
can be the basis of a traffic stop. &nbsp;In the past, we have found stops
justified where officers had reason only to suspect that a noncriminal motor
vehicle code violation occurred .&nbsp;.&nbsp;. even a violation of a statute
that is often violated.” &nbsp;State v. Tuma, 2013 VT 70, ¶&nbsp;8, 194
Vt. 345, 79 A.3d 883 (citation and quotations omitted).

¶ 6.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
The statute on which the officer based the traffic stop in this case is
entitled “Obstructing windshields,” and provides that:

&nbsp;
No person shall paste, stick, or paint advertising matter or other things on or
over any transparent part of a motor vehicle windshield, vent windows, or side
windows located immediately to the left and right of the operator, nor hang any
object, other than a rear view mirror, in back of the windshield.
.&nbsp;.&nbsp;.

&nbsp;

23 V.S.A.
§&nbsp;1125(a). &nbsp;The statute includes various exceptions identifying
specific locations on the windshield where small stickers are allowed,
authorizing the commissioner of motor vehicles to specify the location of any
sticker required by governmental regulation, and creating limited exceptions
for emergency responders, licensed automobile dealers, and individuals with
medical conditions requiring that they be shielded from the rays of the sun.
&nbsp;Id. §&nbsp;1125(a)(1)-(6).&nbsp; The question for us on appeal is
whether this statute prohibits all objects hanging from a rearview mirror, or
only those that materially obstruct the driver’s vision.[1]

¶ 7.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Vermont’s trial courts are split on the question.&nbsp; The Chittenden
Superior Court granted a motion to suppress the fruits of a traffic stop based
on a small air freshener hanging from the rearview mirror that neither
obstructed the windshield nor affected the operation of the vehicle.&nbsp; State
v. Soucy, No. 309-1-13 Cncr, slip op. at 3-6 (Vt. Super. Ct. Mar. 14, 2013).&nbsp;
The court reasoned that the statute in question is expressly directed at
objects that obstruct the windshield, and that the State’s interpretation
suggested an absolute prohibition against hanging any items behind the
windshield, including sun visors, swing-down compartments for sunglasses, and
rosary beads or other objects dangling from car mirrors.&nbsp; Id. at
5.&nbsp; The court concluded the Legislature did not intend for the statute to
proscribe such a broad range of common practices without regard to whether a
driver’s vision is actually obstructed.&nbsp; Id.; see also State v.
Williams, No. 4631-11-12 Cncr, slip op. at 3 (Vt. Super. Ct. June 13, 2013)
(following Soucy in concluding that object hanging from mirror did not
justify traffic stop).&nbsp; On the other hand, the Rutland Superior Court has
concluded that the statute applied to the hanging of any object, even if
non-obstructive.&nbsp; State v. McPhee, No. 519-3-10 Rdcr, slip op. at
2-3 (Vt. Super. Ct. June 21, 2010) (rejecting argument that statute on its face
addresses only hanging of objects from the windshield itself, rather than from
rearview mirror).[2]

¶ 8.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
In this appeal, defendant argues that an interpretation of this statute
that prohibits all hanging objects behind a windshield, rather than those that
actually obstruct a driver’s view, would be absurdly overbroad, and would
impermissibly preempt federal law by disallowing sun visors, which are required
by federal regulations.&nbsp; The State argues that the plain language of the
statute prohibits the hanging of any object from the mirror.&nbsp; The
interpretation of a statute is a question of law, which we review de
novo.&nbsp; State v. Therrien, 2011 VT 120, ¶&nbsp;9, 191 Vt. 24, 38
A.3d 1129.

¶ 9.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Our objective
in statutory interpretation is to construe and effectuate the legislative intent behind a statute.&nbsp; In re Carroll, 2007 VT 19,
¶&nbsp;9, 181 Vt. 383, 925 A.2d 990. “We will enforce the plain meaning of the statutory language where the Legislature’s
intent is evident from it,” but where not evident from the plain meaning, we
will construe intent from consideration of
“the whole statute, the subject matter, its
effects and consequences, and the reason and spirit of the law.” Id.
(quotation omitted).

¶ 10.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We conclude that the
State’s interpretation is overbroad, and that a violation of 23 V.S.A. §&nbsp;1125(a)
must be linked to an obstruction of the driver’s vision.&nbsp; We reach this
conclusion for a host of reasons, which we address below.

¶ 11.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; First
and foremost, the State’s interpretation is not supported by the language of
the statute as a whole, understood in light of the statute’s intent.&nbsp; We
have long held that the title of a chapter, subchapter, or section, as well as
the statute’s purpose, may be considered in interpreting a statute. &nbsp;Doubleday
v. Town of Stockbridge, 109 Vt. 167, 172, 194 A. 462, 464 (1937) (stating
that meaning of statute “may be ascertained by considering it in the light of
all of its provisions, the object to be accomplished by its passage, its title,
pre-existing legislation on the same subject and other relevant
circumstances”); Weale v. Lund, 2006 VT 66, ¶&nbsp;8, 180 Vt. 551, 904
A.2d 1191 (“We consider the title in construing a statute.”); State v. Lynch,
137 Vt. 607, 612-13, 409 A.2d 1001, 1005 (1979) (“[T]his Court must look to the
intent of the legislature where it can be ascertained. &nbsp;This requires the
Court to consider not only the letter of the statute, but, more importantly,
its reason and spirit” (citations omitted)).

¶ 12.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Since
its inception, the statute in question has been expressly captioned
“Obstructing windshields.”[3]&nbsp;
Although the word “obstruction” is never mentioned in the text of the section,
the aim of the statute is to mandate that drivers have clear and unobstructed
views of the road in front of them.&nbsp; The placement of the statute affirms
the commonsense inference that its purpose is to promote public safety.
&nbsp;The obstructing-windshields statute is located in the chapter entitled
“Operation of Vehicles” and the subchapter entitled “Miscellaneous Rules.”
&nbsp;The purpose of the operation-of-vehicles statute—its “reason and
spirit”—is to “render the operation of motor vehicles safer and lessen motor
vehicle accidents and resulting injuries or fatalities.” &nbsp;23 V.S.A.
§&nbsp;1001(a)(4) (describing scope of authority of commissioner of Department
of Motor Vehicles to make regulations).&nbsp; Altogether, the purpose of Title
23 as a whole is to promote safety on public highways, and the goal of §&nbsp;1125
is to promote that purpose by prohibiting the obstruction of a driver’s
vision.&nbsp; The broad interpretation of §&nbsp;1125 urged by the State—i.e.,
that any hanging object would violate the statute without regard to whether it
obstructs the driver’s vision—extends far beyond the Legislature’s purpose in
enacting this statute.

¶ 13.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Second,
we construe statutes to avoid unreasonable consequences that are at odds with
the Legislature’s apparent intent.&nbsp; Delta Psi Fraternity v. City of
Burlington, 2008 VT 129, ¶&nbsp;7, 185 Vt. 129, 969 A.2d 54 (“[I]f the
literal meaning of the words is inconsistent with legislative intent, the
intent must prevail. Such inconsistency occurs if applying the precise wording
of a statute produces results which are manifestly unjust, absurd, unreasonable
or unintended, or conflicts with other expressions of legislative intent”
(alteration and quotation omitted)).

¶ 14.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
State’s construction of the statute—that it prohibits any object hung
from any point behind the windshield—would render conduct that is ubiquitous,
and does not necessarily jeopardize anyone’s safety, an infraction.
&nbsp;Courts have recognized that “[m]any motorists in the United States drive
with objects hanging from the rearview mirrors of their vehicles.”&nbsp; Gordon
v. State, 901 So. 2d 399, 402 &amp; n.4 (Fla. Dist. Ct. App. 2005).
&nbsp;Reported cases reflect a wide variety of such objects, including air
fresheners, spherical crystals, parking placards, medical-alert cards, dog
tags, beads, crosses, crucifixes, and, of course, fuzzy dice.&nbsp; Id.;
accord Commonwealth v. Brazeau, 831 N.E.2d 372, 374 (Mass. App. Ct.
2005) (“[W]e take judicial notice of the fact that objects such as air
fresheners, graduation tassels, and religious medals commonly are hung from the
rearview mirrors of motor vehicles. .&nbsp;.&nbsp;.”).&nbsp; The State’s
interpretation would make it a violation to drive with a garage-door opener
clipped to and extending slightly beyond the sun visor, a ceiling-mounted
speaker for hands-free mobile-phone use, or an unobtrusive parking permit hung
from one’s rearview mirror.&nbsp; As the Chittenden Superior Court pointed out,
it would prohibit driving while the small sunglasses compartment in the ceiling
of many cars is open. &nbsp;Soucy, No. 309-1-13 Cncr, slip op. at 5. We
find it hard to believe that the Legislature intended §&nbsp;1125 to have such
broad application.[4]

¶ 15.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
recently examined another DUI charge arising from a traffic stop based on a
hypertechnical reading of a minor motor vehicle statute in State v. Tuma,
and we find the reasoning of that case supports our conclusion here.&nbsp; In Tuma,
an officer observed that the passenger side of the front license plate was
approximately one to two inches lower than the driver’s side of the plate.
&nbsp;2013 VT 70, ¶¶&nbsp;1-3.&nbsp; Although “the State ma[de] no argument
that the license plate was not legible,” the officer made a traffic stop on the
sole basis of 23 V.S.A. §&nbsp;511, which mandates that license plates on cars
“shall be kept horizontal.”&nbsp; Id. ¶¶&nbsp;2, 15. &nbsp;In the
criminal proceeding arising from the stop, the trial court granted the
defendant’s motion to suppress, and this court affirmed.&nbsp; Id.
¶¶&nbsp;1, 4. &nbsp;The State argued, similar to its argument here, that the
statute was “plain on its face” and that “any difference in level
between the two sides of the license plates means that the license place is not
‘horizontal’ for the purpose of this statute.” &nbsp;Id. ¶&nbsp;7.
&nbsp;We rejected that argument. &nbsp;Id. ¶¶&nbsp;14-11.&nbsp;
Considering the intent of the Legislature and the purpose of the statute
(identification of vehicles) and the need to “interpret the word ‘horizontal’
in a non-absurd manner,” we found that despite the absolute language of the
statute, “a proper reading .&nbsp;.&nbsp;. [is] that a license plate ceases to
be ‘horizontal’ when the angle of the license makes it difficult for a person
with normal vision to read it.” &nbsp;Id.

¶ 16.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Third,
we are especially sensitive to the likelihood that the State’s broad
interpretation could impinge on values of a constitutional dimension.&nbsp; We
generally construe statutes “to avoid constitutional difficulties, if
possible.”&nbsp; In re G.T., 170 Vt. 507, 517, 758 A.2d 301, 308
(2000).&nbsp; We have recognized that “even a minor traffic infraction can be
the basis of a traffic stop.” &nbsp;Tuma, 2013 VT 70, ¶&nbsp;8. &nbsp;If
the host of objects identified above ran afoul of §&nbsp;1125, the statute
would subject a vast swath of the driving population to police stops without
any safety rationale.&nbsp; “The stopping of an automobile for questioning by
police officers constitutes a seizure, thereby generating the protections of
the Fourth Amendment.”&nbsp; State v. Martin, 145 Vt. 562, 567, 496 A.2d
442, 446 (1985) (citing Delaware v. Prouse, 440 U.S. 648, 653 (1979)).
&nbsp;Traffic stops are an intrusion on personal privacy and individual
liberty.&nbsp; See State v. Record, 150 Vt. 84, 87, 95, 548 A.2d 422,
424, 427 (1988) (recognizing that in evaluating “[t]he reasonableness of
seizures that are less intrusive than a traditional arrest,” courts consider
the “balance between the public interest and the individual’s right to personal
security free from arbitrary interference by law officers” (alteration in
original) (quoting Brown v. Texas, 443 U.S. 47, 50 (1979)).&nbsp; Any
suggestion that the Legislature intentionally enacted an overbroad statute with
respect to objects hanging inside the windshield, perhaps in the name of
establishing a bright-line rule, is undercut by the recognition that the
State’s interpretation would significantly reduce the personal liberty of
drivers, and passengers, on Vermont’s highways by subjecting a substantial
proportion of them to police stops without any commensurate benefit to public
safety.&nbsp; See T. M. Lockney &amp; M. A. Friese, Constitutional Roadkill
in the Courts: Looking to the Legislature to Protect North Dakota Motorists
Against Almost Unlimited Police Power to Stop and Investigate Crime, 86
N.D. L. Rev. 1, 2-7 (2010) (using parking-pass scenario as example to describe
how traffic stops based on minor noncriminal traffic infractions “easily
escalate into protracted and intrusive police efforts to find evidence of
criminality”).

¶ 17.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Finally,
we are cognizant of the rule of lenity, the principle that “requires that any
doubts created by ambiguous legislation be resolved in favor of the defendant”
and construed against the state. &nbsp;State v. Goodhue, 2003 VT 85,
¶&nbsp;21, 175 Vt. 457, 833 A.2d 861.&nbsp; The rule of lenity “does not apply
if the statutory language is unambiguous” and will not be used “to defeat the
legislative purpose in enacting the law or to produce irrational and absurd
results.” &nbsp;State v. Wainwright, 2013 VT 120, ¶&nbsp;6, ___ Vt. ___,
88 A.3d 423.&nbsp; The rule of lenity applies to penal laws, Gregory v.
Poulin Auto Sales, Inc., 2010 VT 85, ¶&nbsp;14, 188 Vt. 619, 9 A.3d 679,
and the statute in question here is penal in nature.&nbsp; See State v.
Blondin, 164 Vt. 55, 57 n.1, 665 A.2d 587, 589 n.1 (1995) (stating that
statute is “truly penal,” rather than “administrative,” when it “defines an
offense” or “prescribes a punishment”); Doe v. La. Bd. of Ethics, 112
So. 3d 339, 347 (La. Ct. App. 2013) (rule of lenity “applies to both criminal
laws and civil statutes of a penal nature”).

¶ 18.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
note that our determination that a hanging object must materially obstruct a
driver’s vision to run afoul of § 1125(a) leaves open the question of whether
an object like the air freshener in this case causes a material
obstruction.&nbsp; The answer to that question would require a fact-specific
inquiry.&nbsp; Hanging objects “may (or may not) constitute material obstructions
depending on their size, their position relative to the driver’s line of
vision, and whether they are stationary or mobile.”&nbsp; United States v.
Garcia-Garcia, 633 F.3d 608, 615 (7th Cir. 2011). &nbsp;Analyzing hanging
objects like the air freshener in this case, many courts have concluded they do
not support a traffic stop.[5]&nbsp;
In other cases, courts have upheld stops based on objects hanging from the
rearview mirror.[6]

¶ 19.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; For
all of the above reasons, we conclude that an operator of a motor vehicle
violates 23 V.S.A. §&nbsp;1125 only when an object hanging behind the
windshield materially obstructs the driver’s view, and that a traffic stop is
thus impermissible unless the officer can demonstrate a reasonable, articulable
suspicion that a hanging object materially obstructs the driver’s view.

¶ 20.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Our
rejection of the State’s interpretation of the statute does not end the inquiry.&nbsp;
The U.S. Supreme Court recently held that reasonable suspicion sufficient to justify an investigatory stop may exist even when the
suspicion is based on a mistake of law (i.e., an erroneous “understanding of
the scope of a legal prohibition”), as long as that mistake is objectively
reasonable.&nbsp; The Court reasoned that:

Reasonable suspicion arises from the combination of an
officer’s understanding of the facts and .&nbsp;.&nbsp;. of the relevant law.
The officer may be reasonably mistaken on either ground. .&nbsp;.&nbsp;. [J]ust
because mistakes of law cannot justify either the imposition or the avoidance
of criminal liability, it does not follow that they cannot justify an
investigatory stop.

&nbsp;

Heien v. North Carolina, 135 S. Ct. 530, 536-40
(2014).&nbsp; In concurrence, Justice Kagan emphasized that the bar is high in
cases in which a stop is predicated on a mistake of law.&nbsp; “A court tasked with deciding whether an officer’s mistake
of law can support a seizure thus faces a straightforward question of statutory
construction.&nbsp; If the statute is genuinely ambiguous, such that
overturning the officer’s judgment requires hard interpretive work, then the
officer has made a reasonable mistake.&nbsp; But if not, not.”&nbsp; Id.
at 541 (Kagan, J., concurring).

¶ 21.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; As in Heien, which
also involved an ambiguous vehicle-equipment statute, the statute in this case
“poses a quite difficult question of interpretation.”&nbsp; Id. at 542
(Kagan, J., concurring).&nbsp; The fact that our decision in this case resolves
a split among several Vermont trial courts on this question is reflective of
the difficulty of the question, and the reasonableness of the officer’s
mistaken interpretation of the statute.&nbsp; We conclude that although the
officer’s stop was based on a misapprehension of the law—i.e., that 23
V.S.A. §&nbsp;1125 prohibits the hanging of any item on the inside of a
windshield without regard to whether the item materially obstructs the driver’s
vision—the officer’s misapprehension was an
objectively reasonable one under the circumstances.&nbsp; We therefore find
that the Fourth Amendment[7] does not require exclusion of the evidence gathered from
the traffic stop in this case, and that the trial court did not err in denying
defendant’s motion to suppress.&nbsp; We thus affirm the judgment below, albeit
on different grounds.&nbsp; See Gilwee v.
Town of Barre, 138 Vt. 109, 111, 412 A.2d 300, 301 (1980) (stating that we
may affirm trial court’s decision where there is “any legal ground for
justifying the result,” since “trial court can achieve the right result for the
wrong reason”).

Affirmed.


 
  
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  Associate
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[1] &nbsp;We express no opinion as to whether
the air freshener in this case likely obstructed defendant’s clear view of the
road.&nbsp; In connection with defendant’s suppression motion, the State argued
that the statute broadly prohibits any objects hanging from the rear-view
mirror, and did not proffer any evidence that the officer reasonably believed
that the air freshener that he saw materially obstructed the driver’s
view.&nbsp; See infra, ¶&nbsp;18 &amp; nn. 5-6.





[2]
&nbsp;See also State v. Barcelos, No. 718-7-12 Bncr, slip op. at 2-3
(Vt. Super. Ct. Oct. 2, 2012) (rejecting claim that 23 V.S.A. §&nbsp;1125(a),
as applied to defendant with air fresheners hanging from rearview mirror, is
void for vagueness).





[3]&nbsp;
The text of 23 V.S.A. § 1125 remains substantially unaltered from its original
wording: “A person shall not .&nbsp;.&nbsp;.&nbsp;hang any object other than a
rear view mirror in back of the windshield of a motor vehicle.” &nbsp;1971, No.
258 (Adj. Sess.), §&nbsp;3. &nbsp;Stylistic edits have been made over time, and
exceptions have been added. &nbsp;E.g., 2005, No. 89 (Adj. Sess.), §&nbsp;1;
2001, No. 112 (Adj. Sess.), §&nbsp;1.&nbsp; Because the statute is
substantially unchanged since its enactment in 1971, and given the sparse
legislative record relating to that bill—part of a general revision of the
motor vehicle code—the legislative history shines no light on the intent of the
Legislature with respect to the specific question before us.





[4]
&nbsp;We acknowledge defendant’s argument that under the State’s expansive
reading of the statute, sun visors—which are federally mandated—would run afoul
of the statute.&nbsp; We agree with defendant that federal regulations
mandating that cars have sun visors would preempt any attempt to apply the
state statute to a sun visor.&nbsp; But insofar as the federal regulations do
not purport to preempt the entire field of state safety regulations concerning
visual obstructions in a vehicle, we fail to see how the preemptive effect of
federal law with respect to sun visors would extend beyond sun visors. We thus
reject defendant’s suggestion that, if we were to accept the State’s proposed
interpretation, the federal regulation would somehow preempt all
applications of the Vermont statute.&nbsp; See Hillman v. Maretta, 133
S. Ct. 1943, 1949-50 (2013) (stating that state law is preempted “to the extent
of any conflict with a federal statute,” such conflict occurring “when
compliance with both federal and state regulations is impossible” (quoting Crosby
v. Nat’l Foreign Trade Council, 530 U.S. 363, 372 (2000))).





[5]
&nbsp;E.g., United States v. Murillo-Figueroa, 862 F. Supp. 2d 863,
868-69 (N.D. Iowa 2012) (finding stop unreasonable because cluster of four or
five tree-shaped air fresheners 3-4" in length hanging from rearview
mirrors “did not prevent a ‘clear vision’ through any of the vehicle’s
windows”); People v. Arias, 159 P.3d 134, 138-39 (Colo. 2007) (finding
evidence properly suppressed where officer “failed to articulate a reasonable
basis to believe the air fresheners obstructed the driver’s vision”); State
v. Cyrus, 1 A.3d 59, 63-68 (Conn. 2010) (finding evidence properly
suppressed because officer had no objectively reasonable belief that
defendant’s 1" by 1 ¾" wooden cross/air freshener and 1/8" by 8
½" beaded chain hanging from rearview mirror were “distracting or
obstructive”); People v. Mott, 906 N.E.2d 159, 163-66 (Ill. App. Ct.
2009) (finding evidence properly suppressed where officer never testified that
leaf-shaped air freshener of typical size hanging from rearview mirror
materially obstructed defendant’s vision); People v. Johnson, 893 N.E.2d
275, 280 (Ill. App. Ct. 2008) (finding evidence properly suppressed because
“the officer’s belief, after a fleeting view in the dark,” that “life-size”
cherry-shaped air freshener hanging from rearview mirror constituted “a
material obstruction was not justifiable”); People v. Cole, 874 N.E.2d
81, 90-91 (Ill. App. Ct. 2007) (finding no reasonable suspicion to make stop
because strand of opaque beads 4" long and ¼" in diameter hanging
from rearview mirror was not “material obstruction”); State v. Houghton,
2014 WI App 71, ¶¶&nbsp;2-3, 10, 848 N.W.2d 904 (per curiam) (unpub.) (finding
“standard-size, pine-tree-shaped air freshener hanging from the rearview
mirror” insufficient to support stop).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;





[6]
&nbsp;E.g., Garcia-Garcia, 633 F.3d at 615-16 (upholding stop based on
air freshener because “a reasonable officer could conclude” that air freshener
3" by 5" at its widest point was material obstruction); People v. Price, 2011 IL App (4th) 110272,
¶&nbsp;31, 962 N.E.2d 1035 (affirming conviction, over dissent, where stop was
based on 3" by 3-4" air freshener hanging from mirror where officer
“testified to the size of the air freshener, how it swayed back and forth, and
that it would have obstructed defendant’s view based on his sitting position”);
State v. Barrow, 975 A.2d 539,&nbsp; 548 (N.J. Super. Ct. App. Div.
2009) (officer’s testimony that 3 ½" by 3 ½" miniature boxing gloves
hanging from rearview mirror were “swaying” and “obstructed the driver’s view”
were sufficient to support stop); Mason v. Commonwealth, 767 S.E.2d 726,
732-35 (Va. Ct. App. 2015) (en banc) (determining, over dissent, that 5"
by 4" opaque parking pass hanging from sedan’s rearview mirror could
“obstruct the driver’s clear view of the highway” as prohibited by statute, but
declining to “endorse any per se rule authorizing traffic stops whenever an
object of any kind is observed dangling from a vehicle’s rearview mirror”); State
v. Currie, 2011 WI App 121, ¶&nbsp;8, 803 N.W.2d 868 (unpub.) (holding that
“&nbsp;‘a very large air freshener’ hanging from the rearview mirror obstructs
a driver’s clear view through the front windshield” and justifies traffic
stop); State v. Jury, 2010 WI App 145, ¶&nbsp;7, 791 N.W.2d 406 (unpub.)
(holding that officer’s testimony that “&nbsp;‘something [was] dangling from
the rearview mirror’&nbsp;” that could get “&nbsp;‘in [operator’s] way’&nbsp;”
justified stop) (second alteration in original).





[7]
&nbsp;On appeal, defendant has not made a distinct challenge under Article 11
of the Vermont Constitution.









